           Case 2:06-cr-00197-RSL        Document 61       Filed 06/17/06     Page 1 of 3




 1
 2
 3
 4
 5
 6                          UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE

 9
    UNITED STATES OF AMERICA, )
10                               )
                Plaintiff,       )                CASE NO.      CR06-197 RSL
11                               )
           v.                    )
12                               )
                                 )                DETENTION ORDER
13 BERNARDO GOMEZ-CASARIN, )
                                 )
14              Defendant.       )
   ______________________________)
15
     Offense charged:
16
              Count I:      Conspiracy to Distribute Heroin, in violation of Title 21, United
17
                            States Code, Sections 841(a)(1), 841(b)(1)(B) and 846.
18
     Date of Detention Hearing: June 15, 2006.
19
              The Court, having conducted an uncontested detention hearing pursuant to Title
20
     18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
21
     detention hereafter set forth, finds that no condition or combination of conditions which the
22
     defendant can meet will reasonably assure the appearance of the defendant as required and
23
     the safety of any other person and the community. The Government was represented by
24
     Lisca Borichewski. The defendant was represented by Allen Ressler.
25
              The Government filed a Motion for Detention, to which the defendant stipulated,
26


     DETENTION ORDER
     PAGE -1-
           Case 2:06-cr-00197-RSL        Document 61     Filed 06/17/06    Page 2 of 3




 1 reserving the right to revisit the issue of detention should new information become
 2 available.
 3       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 4           (1)    There is probable cause to believe the defendant committed the
 5                  conspiracy drug offense. The maximum penalty is in excess of ten years.
 6                  There is therefore a rebuttable presumption against the defendant’s
 7                  release based upon both dangerousness and flight risk, under Title 18
 8                  U.S.C. § 3142(e).
 9           (2)    Nothing in this record satisfactorily rebuts the presumption against
10                  release for several reasons:
11                  (a)    The defendant presents a risk of nonappearance due to the
12                         following: He is a citizen and national of Mexico who has
13                         previously been deported from the United States; his ties to the
14                         Western District of Washington are unknown; and BICE has filed
15                         a detainer;
16                  (b)    The defendant presents a risk of danger based on the nature of the
17                         instant offense; and
18                  (c)    The defendant stipulates to detention.
19           (3)    Based upon the foregoing information which is consistent with the
20                  recommendation of U.S. Pre-trial Services, it appears that there is no
21                  condition or combination of conditions that would reasonably assure
22                  future Court appearances and/or the safety of other persons or the
23                  community.
24           It is therefore ORDERED:
25           (l)    The defendant shall be detained pending trial and committed to the
26                  custody of the Attorney General for confinement in a correction facility

     DETENTION ORDER
     PAGE -2-
         Case 2:06-cr-00197-RSL      Document 61      Filed 06/17/06     Page 3 of 3




 1               separate, to the extent practicable, from persons awaiting or serving
 2               sentences or being held in custody pending appeal;
 3         (2)   The defendant shall be afforded reasonable opportunity for private
 4               consultation with counsel;
 5         (3)   On order of a court of the United States or on request of an attorney for
 6               the Government, the person in charge of the corrections facility in which
 7               the defendant is confined shall deliver the defendant to a United States
 8               Marshal for the purpose of an appearance in connection with a court
 9               proceeding; and
10         (4)   The clerk shall direct copies of this order to counsel for the United
11               States, to counsel for the defendant, to the United States Marshal, and to
12               the United States Pretrial Services Officer.
13         DATED this 17th day of June, 2006.




                                              A
14
15
16
                                              Monica J. Benton
17                                            U.S. Magistrate Judge
18
19
20
21
22
23
24
25
26


     DETENTION ORDER
     PAGE -3-
